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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO


  IN RE:
  COLONIAL MEDICAL MANAGEMENT CORP                              CASE NO. 20-01495 (BKT)
  Debtor(s)                                                     CHAPTER 7


                                 NOTICE OF APPEARANCE

        Come now Banco Popular de Puerto Rico through its undersigned attorney and respectfully
states and prays:

       1. Banco Popular de Puerto Rico is a creditor and/or party in interest in the instant
proceeding and wishes to be included in the Master Address List.

         WHEREFORE, BPPR respectfully requests to be included in the Master Address List, and
that it be sent all notices and documents filed in the instant case to the attention of the undersigned.

        I CERTIFY: That the preceding document has been electronically filed with the Clerk of
the Court, using the CM/ECF System. Notice has been sent electronically to debtor’s counsel,
ADA M CONDE courtnotices1611@gmail.com; WIGBERTO LUGO MENDER, Chapter 7
Trustee, trustee@lugomender.com; UST, ustpregion21.hr.ecf@usdoj.gov; and to all CM/ECF
registered users.

        In San Juan, Puerto Rico, this 15th day of April 2020.

                                                        Banco Popular PR-Special Loans
                                                        PO Box 362708
                                                        San Juan, P. R. 00936-2708
                                                        Tel. 787-764-3983
                                                        Fax 787-281-4140


                                                        /s/EDUARDO M. VERAY LOPEZ, ESQ.
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